                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                                  AT NASHVILLE

DR. REGINA JORDAN-SODIQ,                  )
                                          )
       Plaintiff,                         )
                                          )
              v.                          )     Case No. 3:25-cv-00288
                                          )     Judge Eli Richardson
SOCIAL SECURITY ADMINISTRATION,           )
et al.                                    )
                                          )
       Defendants.                        )
______________________________________________________________________________

    DEFENDANT REGIONS BANK’S MEMORANDUM OF LAW IN SUPPORT OF
            MOTION TO DISMISS PRO SE PLAINTIFF’S COMPLAINT
______________________________________________________________________________

        Defendant Regions Bank (“Regions”) respectfully moves this Honorable Court to dismiss

this action with prejudice under Federal Rules of Civil Procedure 4, 8, and 12. In support of its

Motion, Regions states as follows:

                                     I.    INTRODUCTION

        Plaintiff Dr. Regina Jordan-Sodiq (“Plaintiff”), acting pro se, brought this action against

an assortment of 32 defendants. ECF 1-1. After initially filing the Complaint in state court, a

Regions employee located at a Kingsport, Tennessee bank branch, who is not authorized to accept

service of process for Regions, received the Complaint via certified mail. In her Complaint,

Plaintiff vaguely and speciously relies on two criminal statutes (Tenn. Code Ann. §§ 39-17-308

and 39-17-315). Plaintiff fails to aver any discernable allegations against Regions. Regions filed a

Motion to Dismiss with the Montgomery County Circuit Court on March 5, 2025. Plaintiff filed a

response to Regions’ Motion to Dismiss on March 11, 2025.1 Defendants Social Security


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 Plaintiff’s Response to Region’s Montgomery County Circuit Court Motion to Dismiss contained
facts not in her original Complaint (ECF 1-1). Plaintiff’s Response further stated: “from


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Administration and United States Postal Service removed the case to this Honorable Court on

March 17, 2025, prior to the Montgomery County Circuit Court’s resolution of Regions’ Motion

to Dismiss.

          While Regions understands and sympathizes with the fact that Plaintiff is appearing before

this Court pro se, she is not immune from following the pleading standards. Plaintiff’s lack of

coherent factual allegations incorporating a cogent legal theory of liability makes this matter ripe

for dismissal. Accordingly, this Court should grant Regions’ Motion to Dismiss in accordance with

Federal Rules of Civil Procedure 4, 8, and 12.

                                II.     STANDARD OF REVIEW

          Proper notice by sufficient service of process is a cornerstone of fair litigation.

“Constitutional due process requires proper service of process in order for a federal court to obtain

and exercise personal jurisdiction over a defendant.” Taylor v. Stanley Works, No. 4:01-CV-120,

2002 WL 32058966, at *3 (E.D. Tenn. 2002) (citing Omni Capital Int'l Ltd. v. Rudolph Wolff &

Co., 484 U.S. 97, 104 (1987)). Without proper service of process, defendants may be found

responsible for causes of action they are otherwise completely unaware of without due process.

See Id.

          Fed. R. Civ. P. 4(h) governs the service of a corporation within the United States. Rule

4(h) requires service to be either, “(A) in the manner prescribed by Rule 4(e)(1) for serving an

individual; or (B) by delivering a copy of the summons and of the complaint to an officer, a

managing or general agent, or any other agent authorized by appointment or by law to receive



approximately 2005 to 2008, Plaintiff, Dr. Regina Jordan-Sodiq, was subjected to a
conservatorship imposed by Regions Bank. . ..” Accordingly, by Plaintiff’s own admissions, her
baseless allegations against Regions are, at best, 17 years old. 17 years is clearly outside of any
relevant statute of limitations timeframe, and just another reason why her allegations against
Regions must be dismissed.

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service of process and—if the agent is one authorized by statute and the statute so requires—by

also mailing a copy of each to the defendant.” Our federal courts have further held that “service

on an unauthorized agent is not effective under Rule 4(h).” Greene v. PTS Of Am., LLC, No. 3:15-

00145, 2016 WL 1701964, at *2 (M.D. Tenn. 2016) (finding that the signature of a bookkeeper

and receptionist was not enough to bind the company).

         Fed. R. Civ. P. 8(a)(2) requires a pleading to contain “a short and plain statement of the

claim showing that the pleader is entitled to relief.” A complaint must articulate some basis for

relief and provide more than base-less legal conclusions. See Thigpen v. Kane, No. 3:17-CV-

00919, 2017 WL 3868282, at *1 (M.D. Tenn. 2017) (see also Ashcroft v. Iqbal, 556 U.S. 662,

678-79 (2009), and Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555-57 (2007)).

         A motion to dismiss under Fed. R. Civ. P. 12(b)(6) tests a complaint’s legal sufficiency. A

complaint must be dismissed under 12(b)(6) if it should “fail to state a claim upon which relief can

be granted.” Fed. R. Civ. P. 12(b)(6). “To survive a motion to dismiss, a complaint must contain

sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’”

Twombly, 550 U.S. at 570. A motion to dismiss should be granted if it appears that “the plaintiff

can prove no set of facts in support of the claim that would entitle the plaintiff to relief.” Id.

         Further, Fed. R. Civ. P. 12(b)(5) authorizes federal courts to dismiss complaints for failure

to comply with service requirements under Fed. R. Civ. P. 4. See Sutton v. Penny Mac Loan Servs.,

LLC, No. 2:23-CV-00064, 2025 WL 611061 (M.D. Tenn. 2025).

                                      III.    BACKGROUND

         On January 31, 2025, Plaintiff filed her Complaint naming “Regions Bank of Kingsport,

TN”2 among one of the many defendants. (Compl. [1-1], pg. 2.) The Complaint fails to specifically



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    There is no legal entity in Tennessee by the name of “Regions Bank of Kingsport, TN.”

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allege facts supporting a cause of action against Regions. Plaintiff claims in her “Facts” paragraph

that “Since 2005” the amalgamation of defendants have been subjecting her to “harassment and

covert gang stalking” without her “consent or due process.” (Id. at p. 4, ¶ 4.)

        Plaintiff fails to allege any facts whatsoever that support these threadbare allegations. In

fact, the Complaint only specifically avers a wrong by one defendant, Fifth Third Bank. (Id. at p.

4, ¶ 4.) Moreover, Plaintiff purports her legal claims are based of two statutory causes of action,

“Tennessee Code Annotated § 39-17-308 (Harassment) and § 39-17-315 (Stalking).” (Id. at p. 4,

¶ 5.)

        Accordingly, Regions is unable to discern what facts Plaintiff has alleged against it that

would entitle her to relief against Regions. Regions further states that the causes of action averred

by Plaintiff are criminal in nature, and not viable as civil bases for relief.

                                        IV.     ARGUMENT

    A. Plaintiff’s Complaint Should Be Dismissed under Fed. R. Civ. P. 12(b)(5) for Failure
       to Comply with Rule Fed. R. Civ. P. 4.

        The Complaint should be dismissed for failure to properly serve Regions. As stated above,

Plaintiff was required to serve a Regions agent that is authorized to receive service of process. See

Fed. R. Civ. P. 4(h). While it is common for Plaintiffs to serve registered agents for corporate

defendants, service is deficient when made against an employee not authorized to accept service

of process. See Fed. R. Civ. P. 4(h)(1).

        In this case, Plaintiff curiously sent the summons and the Complaint via certified mail to

the Kingsport branch of Regions. The Regions employee that signed for the summons and

Complaint was not authorized to accept service on behalf of Regions Bank as defined by Fed. R.

Civ. P. 4. Accordingly, the Plaintiff has failed to meet her burden to effect service of process and

her Complaint against Regions should be dismissed.


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          Plaintiff could have accessed the publicly-available Tennessee Secretary of State’s website

to find that Regions’ registered agent for service of process is “Corporation Service Company,

2908 Poston Ave, Nashville, Tennessee 37203-1312.” Plaintiff’s failure to serve the registered

agent or an officer or managing agent makes service of process ineffective, and Regions should be

dismissed under Fed. R. Civ. P. 12(b)(5).

       B. Plaintiff’s Complaint Should Be Dismissed Because It Fails to Comply with Fed. R.
          Civ. P. 8(a)(2).

          The Complaint should be dismissed for failure to comply with Fed. R. Civ. P. 8. The

Complaint specifically fails in several ways. First, the Complaint is completely devoid of factual

allegations providing a basis for relief. Plaintiff is required to make “a short and plain statement

of the claim showing that the pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2). The Complaint

is vague, confusing, and utterly barren of cogent facts upon which Regions can base a response.

          Second, the Complaint is confusing and unclear as to what law, right, or duty Regions is

alleged to have violated. Plaintiff has completely failed to provide any factual allegations that form

the basis of a cognizable legal wrong perpetrated by Regions, as she is required to do. In fact,

Plaintiff fails to allege whether she was ever a Regions customer (which Regions has no record

of).

       C. Plaintiff’s Complaint Should Be Dismissed under Fed. R. Civ. P. 12(b)(6).

          Plaintiff’s Complaint mostly contains various requests for relief (like being owed funding

for her “apothecary business,” purchasing acreage for her, building a log cabin and paying “startup

salaries” for future employees over a five-year period), whilst being completely without a factual

basis for such requested relief. Federal courts require that a complaint must include enough factual

allegations to “raise a right to relief above a speculative level.’” Twombly, 550 U.S. at 570.

Plaintiff has simply failed to raise any factual allegations that support a theory of recovery.


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        At best, the Complaint is a conclusory document that fails to state a theory of wrong or

recovery. Accordingly, Plaintiff has completely failed to “state a claim to relief that is plausible

on its face” and, thus, the Complaint is fatally deficient on several counts and should be dismissed.

See Twombly, 550 U.S. at 570.

        Plaintiff has merely stated a lengthy list of defendants, exceptionally vague “facts,” legally

baseless “legal claims,” “damages” unsupportable by law, and a detailed list of extravagant and

frivolous “Relief Sought.” (See generally Compl. [1-1].) Plaintiff alleges that she was somehow

wronged by the many defendants, but completely fails to provide factual support, and thus the

Complaint should not survive a Fed. R. Civ. P. 12(b)(6) motion.

        Lastly, Plaintiff’s asserted statutory legal claims are not civil causes of action. Her only

cited causes of action are for “Tennessee Code Annotated § 39-17-308 (Harassment) and § 39-17-

315 (Stalking).” (Compl. [1-1], p. 4, ¶ 5.) Tennessee does not recognize private causes of action

for damages relating to criminal statutes. See Bowden Bldg. Corp. v. Tennessee Real Estate Com’n,

15 S.W.3d 434 (Tenn. Ct. App. 1999); see also Molthan v. Vanderbilt University, No. 3:17-CV-

00706, 2017 WL 1489099 at *3 (M.D. Tenn. 2017) (stating that Tenn. Code Ann. §§ 39-17-308

and 39-17-315, among others, “do not create private causes of action”). Stated differently, the

ability to sue in civil court for a violation of a criminal statute in Tennessee is generally limited to

situations where the statute explicitly provides for a private cause of action. See Brown v.

Tennessee Title Loans, Inc., 328 S.W.3d 850, 855 (Tenn. 2010). Therefore, Plaintiff’s Complaint

must be dismissed as her only cited legal causes of action are legally inactionable, and she is unable

to recover under them.




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                                        CONCLUSION

        For the foregoing reasons, Regions respectfully moves for the dismissal of this matter in

its entirety with prejudice.

        Submitted this, the 3rd day of April 2025.


                                       Respectfully submitted,


                                        By: /s/ Bo Murphy
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                                           Attorneys for Regions Bank




                                 CERTIFICATE OF SERVICE

        I hereby certify that on April 3, 2025, a copy of the foregoing Memorandum of Law has

been filed with the Court and sent via U.S. Mail, postage prepaid, to:

                Dr. Regina Jordan-Sodiq
                1757 Autumnwood Blvd.
                Clarksville, TN 37042
                Pro Se Plaintiff



                                                     /s/ Bo Murphy
                                                     Bo Murphy



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